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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:15CR292
                              )
          v.                  )
                              )
JOSE ALEJANDRO OROPEZA,       )                         ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to continue (Filing No. 74).          The Court notes plaintiff has no

objection.   The motion will be granted.            Accordingly,

          IT IS ORDERED that defendant’s motion is granted; the

Rule 11 hearing is rescheduled for:

                Thursday, March 10, 2016, at 10:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.            The date will accommodate not

only the schedule of the Court but will give the parties time to

finalize plea negotiations.          The ends of justice will be served

by continuing this case and outweigh the interests of the public

and the defendant in a speedy trial.            The additional time between

February 11, 2016, and March 10, 2016, shall be deemed excludable

time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).
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           A copy of the petition to enter a plea of guilty and a

copy of the plea agreement, if there is one, shall be provided to

the Court at least twenty-four hours prior to the scheduled

hearing.   Failure to do so may result in the hearing being

rescheduled.

           DATED this 10th day of February, 2016.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
